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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

RALPH COLEMAN, Case No. Civ. S 90-0520 LKK-JFM

)
Plaintiff, [PROPOSED] ORDER CONFIRMING
UNDISPUTED ATTORNEYS’ FEES
AND COSTS FOR THE FOURTH
QUARTER OF 2005
)
)

VS.
ARNOLD SCHWARZENEGGER, et al.,

Defendants

On May 19, 2006, the parties in this case submitted a Stipulation confirming the
results of their meet and confer session concerning fees and costs for the Fourth Quarter of

2005, pursuant to the March 19, 1996, periodic fees order in this case.

ading\ STIPULATION AND [PROPOSED] ORDER

CONFIRMING UNDISPUTED ATTORNEYS’ FEES AND
COSTS FOR THE THIRD QUARTER OF 2005

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Proposed order 4thqtr.2005.5-12-06 (undisputed fees) 489-5

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Pursuant to the stipulation filed on May 19, 2006, IT IS HEREBY ORDERED that
plaintiffs fees and costs of $$371,729.94, plus interest are due and collectable as of 45 days from
the date of entry of this order. Daily Interest runs from March 13, 2006 at the rate of 4.80 %.

Amount Interest Rate Daily Interest Interest Began Accruing
$371,729.94 4.80 % $48.89 . March 13, 2006

(Interest accrues at the rate provided by 28 U.S.C. § 1961.)

IT IS SO ORDERED.

Dated:
John F. Moulds, Magistrate Judge
United States District Court
5\Pleading\ ‘w]e STIPULATION AND [PROPOSED] ORDER

CONFIRMING UNDISPUTED ATTORNEYS’ FEES AND
COSTS FOR THE THIRD QUARTER OF 2005

